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                       Exhibit B
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Warning:                                                     This report had more results than could be exported (up to 100,000 rows). Summary totals include all rows.



CMN Cases by School Owner ‐ Open ‐ 2020
As of 2020‐04‐16 15:24:44 Eastern Standard Time/EST • Generated by Colleen Nevin


Filtered By
Show: All cases
Units: Hours
Resolution Action not equal to Duplicate ‐ Customer Requesting Information,Duplicate ‐ Existing Application,Customer Inquiry ‐ No Existing Case,Non‐Customer Inquiry/Request,Spam
Line of Business equals BD
School Owner not equal to
Status equals 2.10 ‐ Ready for EU Review, 2.11 ‐ Narrative Needed, 2.20 ‐ EU Review in Progress, 2.21 ‐ Ready for Quality Control, 2.22 ‐ Quality Control in Progress, 2.23 ‐ Awaiting Evidence Check by ED Divisions, 2.30 ‐ Final BD Review Complete, 2.32 ‐ Awaiting Relief Implementation, 2.40 ‐ Flagged for Approval ‐ Confirm Loans, 2.50 ‐ Ready for ED, 2.60 ‐ Sent to ED

Primary School ↓                                             School Owner ↓                                                                 Status ↑                                                Record Count
ITT Technical Institute                                      ITT Educational Services, Inc.                                                 2.10 ‐ Ready for EU Review                                      25114
                                                                                                                                            2.20 ‐ EU Review in Progress                                      804
                                                                                                                                            2.21 ‐ Ready for Quality Control                                   21
                                                                                                                                            2.22 ‐ Quality Control in Progress                                 63
                                                                                                                                            2.23 ‐ Awaiting Evidence Check by ED Divisions                     23
                                                                                                                                            2.40 ‐ Flagged for Approval ‐ Confirm Loans                      4811
                                                                                                                                            2.50 ‐ Ready for ED                                                37
                                                                                                                                            2.60 ‐ Sent to ED                                                    1
                                                             Subtotal                                                                                                                                       30874
Subtotal                                                                                                                                                                                                    30874
University of Phoenix                                        Apollo Group, Inc (University Of Phoenix)                                      2.10 ‐ Ready for EU Review                                      17291
                                                                                                                                            2.11 ‐ Narrative Needed                                              3
                                                                                                                                            2.20 ‐ EU Review in Progress                                     1001
                                                                                                                                            2.21 ‐ Ready for Quality Control                                   18
                                                                                                                                            2.22 ‐ Quality Control in Progress                                   6
                                                                                                                                            2.23 ‐ Awaiting Evidence Check by ED Divisions                     31
                                                                                                                                            2.40 ‐ Flagged for Approval ‐ Confirm Loans                      2738
                                                             Subtotal                                                                                                                                       21088
Subtotal                                                                                                                                                                                                    21088
DeVry University                                             Devry                                                                          2.10 ‐ Ready for EU Review                                      16120
                                                                                                                                            2.20 ‐ EU Review in Progress                                       17
                                                             Subtotal                                                                                                                                       16137
Subtotal                                                                                                                                                                                                    16137
Sanford‐Brown College                                        CEC                                                                            2.10 ‐ Ready for EU Review                                       3134
                                                                                                                                            2.20 ‐ EU Review in Progress                                       55
                                                                                                                                            2.21 ‐ Ready for Quality Control                                   21
                                                                                                                                            2.22 ‐ Quality Control in Progress                                237
                                                                                                                                            2.23 ‐ Awaiting Evidence Check by ED Divisions                    571
                                                                                                                                            2.40 ‐ Flagged for Approval ‐ Confirm Loans                       428
                                                             Subtotal                                                                                                                                        4446
                                                             EDMC                                                                           2.10 ‐ Ready for EU Review                                         18
                                                             Subtotal                                                                                                                                          18
Subtotal                                                                                                                                                                                                     4464
Purdue University Global                                     Graham Holdings Company (Kaplan)                                               2.10 ‐ Ready for EU Review                                       3932
                                                                                                                                            2.20 ‐ EU Review in Progress                                         1
                                                                                                                                            2.40 ‐ Flagged for Approval ‐ Confirm Loans                          1
                                                             Subtotal                                                                                                                                        3934
Subtotal                                                                                                                                                                                                     3934
Heald College                                                Corinthian Colleges, Inc.                                                      2.10 ‐ Ready for EU Review                                         65
                                                                                                                                            2.11 ‐ Narrative Needed                                              3
                                                                                                                                            2.20 ‐ EU Review in Progress                                       82
                                                                                                                                            2.21 ‐ Ready for Quality Control                                     6
                                                                                                                                            2.22 ‐ Quality Control in Progress                                 46
                                                                                                                                            2.23 ‐ Awaiting Evidence Check by ED Divisions                    194
                                                                                                                                            2.40 ‐ Flagged for Approval ‐ Confirm Loans                      2616
                                                                                                                                            2.50 ‐ Ready for ED                                               581
                                                                                                                                            2.60 ‐ Sent to ED                                                 227
                                                             Subtotal                                                                                                                                        3820
                                                             Heald                                                                          2.10 ‐ Ready for EU Review                                         11
                                                             Subtotal                                                                                                                                          11
Subtotal                                                                                                                                                                                                     3831
Art Institute of Las Vegas (The)                             EDMC                                                                           2.10 ‐ Ready for EU Review                                       2257
                                                                                                                                            2.20 ‐ EU Review in Progress                                       65
                                                             Subtotal                                                                                                                                        2322
                                                             Dream Center Education Holdings (DCEH)                                         2.10 ‐ Ready for EU Review                                        368
                                                             Subtotal                                                                                                                                         368
Subtotal                                                                                                                                                                                                     2690
Argosy University                                            Dream Center Education Holdings (DCEH)                                         2.10 ‐ Ready for EU Review                                       1871
                                                                                                                                            2.20 ‐ EU Review in Progress                                         3
                                                             Subtotal                                                                                                                                        1874
                                                             EDMC                                                                           2.10 ‐ Ready for EU Review                                        736
                                                                                                                                            2.20 ‐ EU Review in Progress                                       66
                                                             Subtotal                                                                                                                                         802
Subtotal                                                                                                                                                                                                     2676
Le Cordon Bleu College of Culinary Arts                      CEC                                                                            2.10 ‐ Ready for EU Review                                       1773
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                                                                                                  2.20 ‐ EU Review in Progress                       23
                                                                                                  2.21 ‐ Ready for Quality Control                    1
                                                                                                  2.22 ‐ Quality Control in Progress                 37
                                                                                                  2.23 ‐ Awaiting Evidence Check by ED Divisions    181
                                                                                                  2.40 ‐ Flagged for Approval ‐ Confirm Loans       305
                                       Subtotal                                                                                                    2320
Subtotal                                                                                                                                           2320
Art Institute of Pittsburgh (The)      Dream Center Education Holdings (DCEH)                     2.10 ‐ Ready for EU Review                       2130
                                       Subtotal                                                                                                    2130
                                       EDMC                                                       2.10 ‐ Ready for EU Review                         41
                                       Subtotal                                                                                                      41
Subtotal                                                                                                                                           2171
Brightwood College                     Willis Stein & Partners III, L.P.                          2.10 ‐ Ready for EU Review                       2143
                                                                                                  2.20 ‐ EU Review in Progress                       24
                                       Subtotal                                                                                                    2167
Subtotal                                                                                                                                           2167
Virginia College                       Willis Stein & Partners III, L.P.                          2.10 ‐ Ready for EU Review                       1943
                                                                                                  2.20 ‐ EU Review in Progress                       25
                                       Subtotal                                                                                                    1968
Subtotal                                                                                                                                           1968
Westwood College ‐ Denver North        Westwood                                                   2.10 ‐ Ready for EU Review                       1670
                                                                                                  2.40 ‐ Flagged for Approval ‐ Confirm Loans         1
                                       Subtotal                                                                                                    1671
Subtotal                                                                                                                                           1671
Ashford University                     Bridgepoint Education, Inc.                                2.10 ‐ Ready for EU Review                       1632
                                                                                                  2.20 ‐ EU Review in Progress                        2
                                       Subtotal                                                                                                    1634
Subtotal                                                                                                                                           1634
American InterContinental University   CEC                                                        2.10 ‐ Ready for EU Review                       1628
                                       Subtotal                                                                                                    1628
Subtotal                                                                                                                                           1628
Colorado Technical University          CEC                                                        2.10 ‐ Ready for EU Review                       1565
                                       Subtotal                                                                                                    1565
Subtotal                                                                                                                                           1565
Minnesota School of Business           Globe University/Minnesota School Of Business              2.10 ‐ Ready for EU Review                       1428
                                                                                                  2.20 ‐ EU Review in Progress                       62
                                       Subtotal                                                                                                    1490
Subtotal                                                                                                                                           1490
Westwood College ‐ Los Angeles         Westwood                                                   2.10 ‐ Ready for EU Review                       1304
                                                                                                  2.20 ‐ EU Review in Progress                        1
                                                                                                  2.60 ‐ Sent to ED                                   1
                                       Subtotal                                                                                                    1306
Subtotal                                                                                                                                           1306
Illinois Institute of Art (The)        EDMC                                                       2.10 ‐ Ready for EU Review                       1205
                                       Subtotal                                                                                                    1205
Subtotal                                                                                                                                           1205
Altierus Career College                Corinthian Colleges, Inc.                                  2.10 ‐ Ready for EU Review                         10
                                                                                                  2.11 ‐ Narrative Needed                             5
                                                                                                  2.20 ‐ EU Review in Progress                       40
                                                                                                  2.21 ‐ Ready for Quality Control                   13
                                                                                                  2.22 ‐ Quality Control in Progress                  5
                                                                                                  2.23 ‐ Awaiting Evidence Check by ED Divisions     73
                                                                                                  2.40 ‐ Flagged for Approval ‐ Confirm Loans        17
                                                                                                  2.50 ‐ Ready for ED                               506
                                                                                                  2.60 ‐ Sent to ED                                 532
                                       Subtotal                                                                                                    1201
Subtotal                                                                                                                                           1201
Marinello School of Beauty             Marinello School Of Beauty                                 2.10 ‐ Ready for EU Review                        903
                                                                                                  2.20 ‐ EU Review in Progress                       21
                                                                                                  2.40 ‐ Flagged for Approval ‐ Confirm Loans         1
                                                                                                  2.50 ‐ Ready for ED                               249
                                       Subtotal                                                                                                    1174
Subtotal                                                                                                                                           1174
Everest College                        Corinthian Colleges, Inc.                                  2.10 ‐ Ready for EU Review                         43
                                                                                                  2.11 ‐ Narrative Needed                             1
                                                                                                  2.20 ‐ EU Review in Progress                       50
                                                                                                  2.21 ‐ Ready for Quality Control                   10
                                                                                                  2.22 ‐ Quality Control in Progress                 12
                                                                                                  2.23 ‐ Awaiting Evidence Check by ED Divisions     61
                                                                                                  2.40 ‐ Flagged for Approval ‐ Confirm Loans        10
                                                                                                  2.50 ‐ Ready for ED                               306
                                                                                                  2.60 ‐ Sent to ED                                 609
                                       Subtotal                                                                                                    1102
Subtotal                                                                                                                                           1102
Art Institute of Atlanta (The)         EDMC                                                       2.10 ‐ Ready for EU Review                        887
                                                                                                  2.20 ‐ EU Review in Progress                      133
                                       Subtotal                                                                                                    1020
Subtotal                                                                                                                                           1020
Charlotte School of Law                Infilaw Holding, LLC                                       2.10 ‐ Ready for EU Review                        945
                                                                                                  2.50 ‐ Ready for ED                                26
                                       Subtotal                                                                                                     971
Subtotal                                                                                                                                            971
Walden University                      Wengen Alberta, Limited Partnership (Laureate Education)   2.10 ‐ Ready for EU Review                        938
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                                                  Subtotal                                                                                                 938
Subtotal                                                                                                                                                   938
Art Institute of California ‐ Los Angeles (The)   EDMC                                                    2.10 ‐ Ready for EU Review                       872
                                                  Subtotal                                                                                                 872
Subtotal                                                                                                                                                   872
Vatterott College                                 Vatterott Education, Inc.                               2.10 ‐ Ready for EU Review                       776
                                                                                                          2.20 ‐ EU Review in Progress                      55
                                                                                                          2.40 ‐ Flagged for Approval ‐ Confirm Loans        1
                                                  Subtotal                                                                                                 832
Subtotal                                                                                                                                                   832
Globe University                                  Globe University/Minnesota School Of Business           2.10 ‐ Ready for EU Review                       801
                                                                                                          2.20 ‐ EU Review in Progress                      14
                                                                                                          2.50 ‐ Ready for ED                                1
                                                  Subtotal                                                                                                 816
Subtotal                                                                                                                                                   816
ATI Career Training Center                        Ati Career Training                                     2.10 ‐ Ready for EU Review                       794
                                                  Subtotal                                                                                                 794
Subtotal                                                                                                                                                   794
Anthem College                                    Anthem College                                          2.10 ‐ Ready for EU Review                       785
                                                                                                          2.20 ‐ EU Review in Progress                       7
                                                  Subtotal                                                                                                 792
Subtotal                                                                                                                                                   792
Keller Graduate School of Management              Devry                                                   2.10 ‐ Ready for EU Review                       791
                                                  Subtotal                                                                                                 791
Subtotal                                                                                                                                                   791
Everest Institute                                 Corinthian Colleges, Inc.                               2.10 ‐ Ready for EU Review                        55
                                                                                                          2.11 ‐ Narrative Needed                            4
                                                                                                          2.20 ‐ EU Review in Progress                      62
                                                                                                          2.21 ‐ Ready for Quality Control                   5
                                                                                                          2.22 ‐ Quality Control in Progress                 3
                                                                                                          2.23 ‐ Awaiting Evidence Check by ED Divisions    47
                                                                                                          2.40 ‐ Flagged for Approval ‐ Confirm Loans        6
                                                                                                          2.50 ‐ Ready for ED                              187
                                                                                                          2.60 ‐ Sent to ED                                378
                                                  Subtotal                                                                                                 747
Subtotal                                                                                                                                                   747
Brooks Institute                                  CEC                                                     2.10 ‐ Ready for EU Review                       489
                                                                                                          2.20 ‐ EU Review in Progress                      10
                                                                                                          2.21 ‐ Ready for Quality Control                  15
                                                                                                          2.22 ‐ Quality Control in Progress                80
                                                                                                          2.23 ‐ Awaiting Evidence Check by ED Divisions   101
                                                  Subtotal                                                                                                 695
Subtotal                                                                                                                                                   695
Capella University                                Capella Education Company                               2.10 ‐ Ready for EU Review                       679
                                                  Subtotal                                                                                                 679
Subtotal                                                                                                                                                   679
Art Institute of Philadelphia (The)               EDMC                                                    2.10 ‐ Ready for EU Review                       675
                                                  Subtotal                                                                                                 675
Subtotal                                                                                                                                                   675
Art Institute of Fort Lauderdale (The)            EDMC                                                    2.10 ‐ Ready for EU Review                       654
                                                  Subtotal                                                                                                 654
Subtotal                                                                                                                                                   654
WyoTech                                           Corinthian Colleges, Inc.                               2.10 ‐ Ready for EU Review                        27
                                                                                                          2.11 ‐ Narrative Needed                            1
                                                                                                          2.20 ‐ EU Review in Progress                      69
                                                                                                          2.21 ‐ Ready for Quality Control                   9
                                                                                                          2.22 ‐ Quality Control in Progress                19
                                                                                                          2.23 ‐ Awaiting Evidence Check by ED Divisions    77
                                                                                                          2.40 ‐ Flagged for Approval ‐ Confirm Loans       14
                                                                                                          2.50 ‐ Ready for ED                              128
                                                                                                          2.60 ‐ Sent to ED                                305
                                                  Subtotal                                                                                                 649
Subtotal                                                                                                                                                   649
Universal Technical Institute                     Universal Technical Institute                           2.10 ‐ Ready for EU Review                       557
                                                                                                          2.20 ‐ EU Review in Progress                      75
                                                                                                          2.23 ‐ Awaiting Evidence Check by ED Divisions     1
                                                  Subtotal                                                                                                 633
Subtotal                                                                                                                                                   633
Star Career Academy                               Star Career Academy                                     2.10 ‐ Ready for EU Review                       558
                                                                                                          2.20 ‐ EU Review in Progress                      48
                                                  Subtotal                                                                                                 606
Subtotal                                                                                                                                                   606
Lincoln Technical Institute                       Lincoln Technical Institute, Inc.                       2.10 ‐ Ready for EU Review                        17
                                                                                                          2.20 ‐ EU Review in Progress                     587
                                                  Subtotal                                                                                                 604
Subtotal                                                                                                                                                   604
United Education Institute                        Sp/Palm Iec Holdings LLC (United Education Institute)   2.10 ‐ Ready for EU Review                       578
                                                                                                          2.20 ‐ EU Review in Progress                      25
                                                  Subtotal                                                                                                 603
Subtotal                                                                                                                                                   603
South University                                  EDMC                                                    2.10 ‐ Ready for EU Review                       539
                                                                                                          2.20 ‐ EU Review in Progress                      53
                                                  Subtotal                                                                                                 592
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Subtotal                                                                                                                              592
Wright Career College                     Wright Business School                     2.10 ‐ Ready for EU Review                        24
                                                                                     2.30 ‐ Final BD Review Complete                    1
                                                                                     2.40 ‐ Flagged for Approval ‐ Confirm Loans      214
                                                                                     2.50 ‐ Ready for ED                              321
                                                                                     2.60 ‐ Sent to ED                                 10
                                          Subtotal                                                                                    570
Subtotal                                                                                                                              570
Everest University                        Corinthian Colleges, Inc.                  2.10 ‐ Ready for EU Review                        31
                                                                                     2.11 ‐ Narrative Needed                            2
                                                                                     2.20 ‐ EU Review in Progress                      49
                                                                                     2.21 ‐ Ready for Quality Control                   4
                                                                                     2.22 ‐ Quality Control in Progress                 6
                                                                                     2.23 ‐ Awaiting Evidence Check by ED Divisions    30
                                                                                     2.40 ‐ Flagged for Approval ‐ Confirm Loans        9
                                                                                     2.50 ‐ Ready for ED                              149
                                                                                     2.60 ‐ Sent to ED                                282
                                          Subtotal                                                                                    562
Subtotal                                                                                                                              562
Westwood College ‐ O'Hare Airport         Westwood                                   2.10 ‐ Ready for EU Review                       470
                                                                                     2.20 ‐ EU Review in Progress                      85
                                          Subtotal                                                                                    555
Subtotal                                                                                                                              555
Art Institute of Colorado (The)           EDMC                                       2.10 ‐ Ready for EU Review                       549
                                                                                     2.20 ‐ EU Review in Progress                       1
                                          Subtotal                                                                                    550
Subtotal                                                                                                                              550
Full Sail University                      Full Sail Recorders, Inc.                  2.10 ‐ Ready for EU Review                       545
                                          Subtotal                                                                                    545
Subtotal                                                                                                                              545
Grand Canyon University                   Grand Canyon Education, Inc                2.10 ‐ Ready for EU Review                       536
                                                                                     2.20 ‐ EU Review in Progress                       1
                                          Subtotal                                                                                    537
Subtotal                                                                                                                              537
Keiser University                         Everglades College, Inc.                   2.10 ‐ Ready for EU Review                       511
                                          Subtotal                                                                                    511
Subtotal                                                                                                                              511
Strayer University                        Strayer Education Inc.                     2.10 ‐ Ready for EU Review                        16
                                                                                     2.11 ‐ Narrative Needed                            1
                                                                                     2.20 ‐ EU Review in Progress                       1
                                                                                     2.40 ‐ Flagged for Approval ‐ Confirm Loans      492
                                          Subtotal                                                                                    510
Subtotal                                                                                                                              510
Westwood College ‐ DuPage                 Westwood                                   2.10 ‐ Ready for EU Review                       509
                                          Subtotal                                                                                    509
Subtotal                                                                                                                              509
Brown Mackie College‐Cincinnati           EDMC                                       2.10 ‐ Ready for EU Review                       504
                                                                                     2.20 ‐ EU Review in Progress                       1
                                          Subtotal                                                                                    505
Subtotal                                                                                                                              505
Fortis College                            Fortis College                             2.10 ‐ Ready for EU Review                       486
                                          Subtotal                                                                                    486
Subtotal                                                                                                                              486
Brightwood Career Institute               Willis Stein & Partners III, L.P.          2.10 ‐ Ready for EU Review                       445
                                                                                     2.20 ‐ EU Review in Progress                      36
                                                                                     2.30 ‐ Final BD Review Complete                    1
                                          Subtotal                                                                                    482
Subtotal                                                                                                                              482
ICDC College                              International Career Development Center    2.10 ‐ Ready for EU Review                       452
                                                                                     2.20 ‐ EU Review in Progress                       1
                                          Subtotal                                                                                    453
Subtotal                                                                                                                              453
Heritage College                          Weston Educational, Inc.                   2.10 ‐ Ready for EU Review                       403
                                                                                     2.20 ‐ EU Review in Progress                      49
                                          Subtotal                                                                                    452
Subtotal                                                                                                                              452
Bryman School of Arizona (The)            Everest                                    2.10 ‐ Ready for EU Review                        73
                                                                                     2.20 ‐ EU Review in Progress                     367
                                          Subtotal                                                                                    440
Subtotal                                                                                                                              440
Devry Institute of Technology             Devry                                      2.10 ‐ Ready for EU Review                       436
                                          Subtotal                                                                                    436
Subtotal                                                                                                                              436
Art Institute of California ‐ San Diego   EDMC                                       2.10 ‐ Ready for EU Review                       434
                                          Subtotal                                                                                    434
Subtotal                                                                                                                              434
New England Institute of Art (The)        EDMC                                       2.10 ‐ Ready for EU Review                       427
                                                                                     2.23 ‐ Awaiting Evidence Check by ED Divisions     1
                                          Subtotal                                                                                    428
Subtotal                                                                                                                              428
Career Point College                      Career Point College                       2.10 ‐ Ready for EU Review                       408
                                                                                     2.20 ‐ EU Review in Progress                      19
                                          Subtotal                                                                                    427
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Subtotal                                                                                                                                                                427
Art Institute of Houston (The)                   EDMC                                                                  2.10 ‐ Ready for EU Review                       418
                                                 Subtotal                                                                                                               418
Subtotal                                                                                                                                                                418
Lincoln College of Technology                    Lincoln Technical Institute, Inc.                                     2.10 ‐ Ready for EU Review                       403
                                                                                                                       2.20 ‐ EU Review in Progress                       8
                                                 Subtotal                                                                                                               411
Subtotal                                                                                                                                                                411
Medtech College                                  Jtc Education, Inc.                                                   2.10 ‐ Ready for EU Review                       375
                                                                                                                       2.20 ‐ EU Review in Progress                      33
                                                 Subtotal                                                                                                               408
Subtotal                                                                                                                                                                408
Miami International University of Art & Design   EDMC                                                                  2.10 ‐ Ready for EU Review                       402
                                                 Subtotal                                                                                                               402
Subtotal                                                                                                                                                                402
Academy of Art University                        Academy Of Art University                                             2.10 ‐ Ready for EU Review                       399
                                                 Subtotal                                                                                                               399
Subtotal                                                                                                                                                                399
Carrington College                               Devry                                                                 2.10 ‐ Ready for EU Review                       274
                                                                                                                       2.20 ‐ EU Review in Progress                     112
                                                 Subtotal                                                                                                               386
Subtotal                                                                                                                                                                386
Westwood College ‐ South Bay                     Westwood                                                              2.10 ‐ Ready for EU Review                       342
                                                                                                                       2.20 ‐ EU Review in Progress                      31
                                                 Subtotal                                                                                                               373
Subtotal                                                                                                                                                                373
Art Institute of Seattle (The)                   Dream Center Education Holdings (DCEH)                                2.10 ‐ Ready for EU Review                       323
                                                                                                                       2.20 ‐ EU Review in Progress                      46
                                                 Subtotal                                                                                                               369
Subtotal                                                                                                                                                                369
American College for Medical Careers             Premier Education Group L.P.                                          2.10 ‐ Ready for EU Review                       192
                                                                                                                       2.20 ‐ EU Review in Progress                     167
                                                 Subtotal                                                                                                               359
Subtotal                                                                                                                                                                359
Art Institute of New York City (The)             EDMC                                                                  2.10 ‐ Ready for EU Review                       352
                                                 Subtotal                                                                                                               352
Subtotal                                                                                                                                                                352
Art Institutes International Minnesota (The)     EDMC                                                                  2.10 ‐ Ready for EU Review                       344
                                                                                                                       2.20 ‐ EU Review in Progress                       2
                                                 Subtotal                                                                                                               346
Subtotal                                                                                                                                                                346
Florida Career College                           Sp/Palm Iec Holdings LLC (United Education Institute)                 2.10 ‐ Ready for EU Review                       332
                                                                                                                       2.20 ‐ EU Review in Progress                      10
                                                 Subtotal                                                                                                               342
Subtotal                                                                                                                                                                342
Regency Beauty Institute                         Regency Corporation                                                   2.10 ‐ Ready for EU Review                       341
                                                 Subtotal                                                                                                               341
Subtotal                                                                                                                                                                341
Daymar College                                   The Mark A. Gabis Revocable Inter Vivos Trust                         2.10 ‐ Ready for EU Review                       322
                                                                                                                       2.50 ‐ Ready for ED                                4
                                                 Subtotal                                                                                                               326
Subtotal                                                                                                                                                                326
Le Cordon Bleu Institute of Culinary Arts        CEC                                                                   2.10 ‐ Ready for EU Review                       207
                                                                                                                       2.20 ‐ EU Review in Progress                       7
                                                                                                                       2.22 ‐ Quality Control in Progress                 5
                                                                                                                       2.23 ‐ Awaiting Evidence Check by ED Divisions    28
                                                                                                                       2.40 ‐ Flagged for Approval ‐ Confirm Loans       60
                                                 Subtotal                                                                                                               307
Subtotal                                                                                                                                                                307
Harrison College                                 Educational Management Corporation (Not Education Management Corp.)   2.10 ‐ Ready for EU Review                       304
                                                 Subtotal                                                                                                               304
Subtotal                                                                                                                                                                304
Art Institute of Charlotte (The)                 EDMC                                                                  2.10 ‐ Ready for EU Review                       287
                                                                                                                       2.20 ‐ EU Review in Progress                       1
                                                 Subtotal                                                                                                               288
Subtotal                                                                                                                                                                288
Brown Mackie College‐South Bend                  EDMC                                                                  2.10 ‐ Ready for EU Review                       286
                                                 Subtotal                                                                                                               286
Subtotal                                                                                                                                                                286
Art Institute of Portland (The)                  EDMC                                                                  2.10 ‐ Ready for EU Review                       286
                                                 Subtotal                                                                                                               286
Subtotal                                                                                                                                                                286
Kaplan College                                   Willis Stein & Partners III, L.P.                                     2.10 ‐ Ready for EU Review                       143
                                                                                                                       2.20 ‐ EU Review in Progress                       5
                                                                                                                       2.60 ‐ Sent to ED                                 19
                                                 Subtotal                                                                                                               167
                                                 Graham Holdings Company (Kaplan)                                      2.10 ‐ Ready for EU Review                       111
                                                 Subtotal                                                                                                               111
Subtotal                                                                                                                                                                278
Stevens Henager College                          Collegeamerica Services, Inc.                                         2.10 ‐ Ready for EU Review                       272
                                                 Subtotal                                                                                                               272
Subtotal                                                                                                                                                                272
Dade Medical College                             Dade Medical College                                                  2.10 ‐ Ready for EU Review                         4
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                                                                                                   2.11 ‐ Narrative Needed                           21
                                                                                                   2.40 ‐ Flagged for Approval ‐ Confirm Loans      241
                                                     Subtotal                                                                                       266
Subtotal                                                                                                                                            266
Brown Mackie College‐Findlay                         EDMC                                          2.10 ‐ Ready for EU Review                       260
                                                     Subtotal                                                                                       260
Subtotal                                                                                                                                            260
Briarcliffe College                                  CEC                                           2.10 ‐ Ready for EU Review                       165
                                                                                                   2.20 ‐ EU Review in Progress                      22
                                                                                                   2.22 ‐ Quality Control in Progress                 1
                                                                                                   2.23 ‐ Awaiting Evidence Check by ED Divisions     8
                                                                                                   2.40 ‐ Flagged for Approval ‐ Confirm Loans       63
                                                     Subtotal                                                                                       259
Subtotal                                                                                                                                            259
Collins College                                      CEC                                           2.10 ‐ Ready for EU Review                        88
                                                                                                   2.20 ‐ EU Review in Progress                       8
                                                                                                   2.21 ‐ Ready for Quality Control                   4
                                                                                                   2.23 ‐ Awaiting Evidence Check by ED Divisions    15
                                                                                                   2.40 ‐ Flagged for Approval ‐ Confirm Loans      139
                                                     Subtotal                                                                                       254
Subtotal                                                                                                                                            254
Branford Hall Career Institute                       Premier Education Group L.P.                  2.10 ‐ Ready for EU Review                       244
                                                     Subtotal                                                                                       244
Subtotal                                                                                                                                            244
Brown Mackie College (The)                           EDMC                                          2.10 ‐ Ready for EU Review                       239
                                                     Subtotal                                                                                       239
Subtotal                                                                                                                                            239
ATI‐ Career Training Center                          Ati Career Training                           2.10 ‐ Ready for EU Review                       234
                                                     Subtotal                                                                                       234
Subtotal                                                                                                                                            234
Art Institute of California‐Hollywood (The)          EDMC                                          2.10 ‐ Ready for EU Review                       228
                                                     Subtotal                                                                                       228
Subtotal                                                                                                                                            228
Le Cordon Bleu College of Culinary Arts in Chicago   CEC                                           2.10 ‐ Ready for EU Review                       158
                                                                                                   2.20 ‐ EU Review in Progress                       4
                                                                                                   2.22 ‐ Quality Control in Progress                 5
                                                                                                   2.23 ‐ Awaiting Evidence Check by ED Divisions    30
                                                                                                   2.40 ‐ Flagged for Approval ‐ Confirm Loans       30
                                                     Subtotal                                                                                       227
Subtotal                                                                                                                                            227
American National University                         American National University Group            2.10 ‐ Ready for EU Review                        41
                                                                                                   2.20 ‐ EU Review in Progress                     184
                                                     Subtotal                                                                                       225
Subtotal                                                                                                                                            225
Mountain State University                            Mountain State University                     2.10 ‐ Ready for EU Review                        91
                                                                                                   2.20 ‐ EU Review in Progress                     125
                                                                                                   2.60 ‐ Sent to ED                                  1
                                                     Subtotal                                                                                       217
Subtotal                                                                                                                                            217
Career Colleges of America                           Career Colleges Of America                    2.10 ‐ Ready for EU Review                        89
                                                                                                   2.20 ‐ EU Review in Progress                     125
                                                     Subtotal                                                                                       214
Subtotal                                                                                                                                            214
ATI Technical Training Center                        Ati Career Training                           2.10 ‐ Ready for EU Review                       209
                                                                                                   2.20 ‐ EU Review in Progress                       1
                                                     Subtotal                                                                                       210
Subtotal                                                                                                                                            210
Miller ‐ Motte Technical College                     Delta Cec                                     2.10 ‐ Ready for EU Review                       165
                                                                                                   2.20 ‐ EU Review in Progress                      33
                                                     Subtotal                                                                                       198
Subtotal                                                                                                                                            198
Computer Systems Institute                           Computer Systems Institute                    2.10 ‐ Ready for EU Review                       196
                                                     Subtotal                                                                                       196
Subtotal                                                                                                                                            196
National American University                         National American University Holdings, Inc.   2.10 ‐ Ready for EU Review                        33
                                                                                                   2.20 ‐ EU Review in Progress                     162
                                                     Subtotal                                                                                       195
Subtotal                                                                                                                                            195
Concorde Career College                              Concorde Career Colleges, Inc.                2.10 ‐ Ready for EU Review                       119
                                                                                                   2.20 ‐ EU Review in Progress                      76
                                                     Subtotal                                                                                       195
Subtotal                                                                                                                                            195
McCann School of Business & Technology               Delta Cec                                     2.10 ‐ Ready for EU Review                       171
                                                                                                   2.20 ‐ EU Review in Progress                      21
                                                     Subtotal                                                                                       192
Subtotal                                                                                                                                            192
Heritage Institute                                   Weston Educational, Inc.                      2.10 ‐ Ready for EU Review                       191
                                                     Subtotal                                                                                       191
Subtotal                                                                                                                                            191
Bryant & Stratton College                            Bryant & Stratton College, Inc.               2.10 ‐ Ready for EU Review                         2
                                                                                                   2.20 ‐ EU Review in Progress                     120
                                                                                                   2.40 ‐ Flagged for Approval ‐ Confirm Loans       69
                                                     Subtotal                                                                                       191
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Subtotal                                                                                                                                      191
Fortis Institute                     Fortis College                                          2.10 ‐ Ready for EU Review                       189
                                     Subtotal                                                                                                 189
Subtotal                                                                                                                                      189
Altierus Career Education            Corinthian Colleges, Inc.                               2.11 ‐ Narrative Needed                            1
                                                                                             2.20 ‐ EU Review in Progress                      10
                                                                                             2.21 ‐ Ready for Quality Control                   2
                                                                                             2.23 ‐ Awaiting Evidence Check by ED Divisions     9
                                                                                             2.40 ‐ Flagged for Approval ‐ Confirm Loans        3
                                                                                             2.50 ‐ Ready for ED                               45
                                                                                             2.60 ‐ Sent to ED                                118
                                     Subtotal                                                                                                 188
Subtotal                                                                                                                                      188
Pittsburgh Career Institute          Career Education Corp.                                  2.10 ‐ Ready for EU Review                        26
                                                                                             2.20 ‐ EU Review in Progress                      86
                                                                                             2.22 ‐ Quality Control in Progress                 3
                                                                                             2.23 ‐ Awaiting Evidence Check by ED Divisions     7
                                                                                             2.40 ‐ Flagged for Approval ‐ Confirm Loans       58
                                     Subtotal                                                                                                 180
Subtotal                                                                                                                                      180
Everest University ‐ Pompano Beach   Corinthian Colleges, Inc.                               2.10 ‐ Ready for EU Review                        14
                                                                                             2.20 ‐ EU Review in Progress                      17
                                                                                             2.22 ‐ Quality Control in Progress                 2
                                                                                             2.23 ‐ Awaiting Evidence Check by ED Divisions    12
                                                                                             2.50 ‐ Ready for ED                               44
                                                                                             2.60 ‐ Sent to ED                                 88
                                     Subtotal                                                                                                 177
Subtotal                                                                                                                                      177
Brooks College                       Brooks College                                          2.10 ‐ Ready for EU Review                       162
                                                                                             2.22 ‐ Quality Control in Progress                 8
                                                                                             2.23 ‐ Awaiting Evidence Check by ED Divisions     5
                                     Subtotal                                                                                                 175
Subtotal                                                                                                                                      175
Business Career Training Institute   Business Career Training Institute                      2.10 ‐ Ready for EU Review                         6
                                                                                             2.20 ‐ EU Review in Progress                     166
                                     Subtotal                                                                                                 172
Subtotal                                                                                                                                      172
UEI College                          Sp/Palm Iec Holdings LLC (United Education Institute)   2.10 ‐ Ready for EU Review                       103
                                                                                             2.20 ‐ EU Review in Progress                      59
                                     Subtotal                                                                                                 162
Subtotal                                                                                                                                      162
Remington College                    Remington College                                       2.10 ‐ Ready for EU Review                       117
                                                                                             2.20 ‐ EU Review in Progress                      45
                                     Subtotal                                                                                                 162
Subtotal                                                                                                                                      162
Kaplan Career Institute              Willis Stein & Partners III, L.P.                       2.10 ‐ Ready for EU Review                       100
                                     Subtotal                                                                                                 100
                                     Graham Holdings Company (Kaplan)                        2.10 ‐ Ready for EU Review                        53
                                     Subtotal                                                                                                  53
Subtotal                                                                                                                                      153
Centura College                      Employment Services, Inc.                               2.20 ‐ EU Review in Progress                     150
                                     Subtotal                                                                                                 150
Subtotal                                                                                                                                      150
Art Institute of Dallas (The)        EDMC                                                    2.10 ‐ Ready for EU Review                       149
                                     Subtotal                                                                                                 149
Subtotal                                                                                                                                      149
Sanford‐Brown Institute              CEC                                                     2.10 ‐ Ready for EU Review                        96
                                                                                             2.20 ‐ EU Review in Progress                       8
                                                                                             2.22 ‐ Quality Control in Progress                16
                                                                                             2.23 ‐ Awaiting Evidence Check by ED Divisions     9
                                                                                             2.40 ‐ Flagged for Approval ‐ Confirm Loans       16
                                     Subtotal                                                                                                 145
Subtotal                                                                                                                                      145
Mount Washington College             Graham Holdings Company (Kaplan)                        2.10 ‐ Ready for EU Review                       142
                                     Subtotal                                                                                                 142
Subtotal                                                                                                                                      142
Rasmussen College                    Rasmussen College, Inc.                                 2.10 ‐ Ready for EU Review                       136
                                                                                             2.20 ‐ EU Review in Progress                       5
                                     Subtotal                                                                                                 141
Subtotal                                                                                                                                      141
Katharine Gibbs School               Gibbs College                                           2.10 ‐ Ready for EU Review                       123
                                                                                             2.20 ‐ EU Review in Progress                      18
                                     Subtotal                                                                                                 141
Subtotal                                                                                                                                      141
Bryman College                       Corinthian Colleges, Inc.                               2.10 ‐ Ready for EU Review                         2
                                                                                             2.20 ‐ EU Review in Progress                      10
                                                                                             2.21 ‐ Ready for Quality Control                   4
                                                                                             2.23 ‐ Awaiting Evidence Check by ED Divisions     7
                                                                                             2.40 ‐ Flagged for Approval ‐ Confirm Loans        2
                                                                                             2.50 ‐ Ready for ED                               37
                                                                                             2.60 ‐ Sent to ED                                 79
                                     Subtotal                                                                                                 141
Subtotal                                                                                                                                      141
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SBI Campus ‐ an affiliate of Sanford‐Brown   CEC                                         2.10 ‐ Ready for EU Review                       100
                                                                                         2.20 ‐ EU Review in Progress                      13
                                                                                         2.22 ‐ Quality Control in Progress                 2
                                                                                         2.23 ‐ Awaiting Evidence Check by ED Divisions    11
                                                                                         2.40 ‐ Flagged for Approval ‐ Confirm Loans       10
                                             Subtotal                                                                                     136
Subtotal                                                                                                                                  136
Miller‐Motte Technical College               Delta Career Education Corporation          2.10 ‐ Ready for EU Review                        83
                                                                                         2.20 ‐ EU Review in Progress                      42
                                             Subtotal                                                                                     125
Subtotal                                                                                                                                  125
Jones International University               Jones International University              2.10 ‐ Ready for EU Review                       121
                                             Subtotal                                                                                     121
Subtotal                                                                                                                                  121
American Career Institute                    ACI                                         2.10 ‐ Ready for EU Review                       121
                                             Subtotal                                                                                     121
Subtotal                                                                                                                                  121
American Career College                      David Pyle Trust                            2.10 ‐ Ready for EU Review                       102
                                                                                         2.23 ‐ Awaiting Evidence Check by ED Divisions    14
                                             Subtotal                                                                                     116
Subtotal                                                                                                                                  116
Pima Medical Institute                       Vocational Training Institute, Inc.         2.10 ‐ Ready for EU Review                       111
                                             Subtotal                                                                                     111
Subtotal                                                                                                                                  111
Everest College Phoenix                      Corinthian Colleges, Inc.                   2.10 ‐ Ready for EU Review                         9
                                                                                         2.20 ‐ EU Review in Progress                       5
                                                                                         2.23 ‐ Awaiting Evidence Check by ED Divisions    13
                                                                                         2.50 ‐ Ready for ED                               26
                                                                                         2.60 ‐ Sent to ED                                 54
                                             Subtotal                                                                                     107
Subtotal                                                                                                                                  107
Western International University             Apollo Group, Inc (University Of Phoenix)   2.10 ‐ Ready for EU Review                        30
                                                                                         2.20 ‐ EU Review in Progress                      76
                                             Subtotal                                                                                     106
Subtotal                                                                                                                                  106
ATI College of Health                        Ati Career Training                         2.10 ‐ Ready for EU Review                        22
                                                                                         2.20 ‐ EU Review in Progress                      84
                                             Subtotal                                                                                     106
Subtotal                                                                                                                                  106
Arizona Summit Law School                    Infilaw Holding, LLC                        2.10 ‐ Ready for EU Review                       106
                                             Subtotal                                                                                     106
Subtotal                                                                                                                                  106
ECPI University                              Novateur Education, Inc.                    2.10 ‐ Ready for EU Review                        12
                                                                                         2.40 ‐ Flagged for Approval ‐ Confirm Loans       73
                                                                                         2.60 ‐ Sent to ED                                 20
                                             Subtotal                                                                                     105
Subtotal                                                                                                                                  105
Remington College ‐ Tampa Campus             Remington College                           2.10 ‐ Ready for EU Review                       101
                                             Subtotal                                                                                     101
Subtotal                                                                                                                                  101
Missouri College                             Weston Educational, Inc.                    2.10 ‐ Ready for EU Review                       101
                                             Subtotal                                                                                     101
Subtotal                                                                                                                                  101
Brown Mackie College                         EDMC                                        2.10 ‐ Ready for EU Review                       100
                                             Subtotal                                                                                     100
Subtotal                                                                                                                                  100
Art Institute of York (The) ‐ Pennsylvania   EDMC                                        2.10 ‐ Ready for EU Review                         9
                                                                                         2.20 ‐ EU Review in Progress                      91
                                             Subtotal                                                                                     100
Subtotal                                                                                                                                  100
Harris School of Business                    Premier Education Group L.P.                2.10 ‐ Ready for EU Review                        96
                                                                                         2.50 ‐ Ready for ED                                2
                                             Subtotal                                                                                      98
Subtotal                                                                                                                                   98
Westech College                              Marinello School Of Beauty                  2.10 ‐ Ready for EU Review                         3
                                                                                         2.50 ‐ Ready for ED                               26
                                                                                         2.60 ‐ Sent to ED                                 68
                                             Subtotal                                                                                      97
Subtotal                                                                                                                                   97
Fortis Institute ‐ Towson                    Fortis College                              2.10 ‐ Ready for EU Review                        95
                                             Subtotal                                                                                      95
Subtotal                                                                                                                                   95
Remington College ‐ Mobile Campus            Remington College                           2.10 ‐ Ready for EU Review                        90
                                             Subtotal                                                                                      90
Subtotal                                                                                                                                   90
Milan Institute                              Amarillo College Of Hairdressing, Inc.      2.10 ‐ Ready for EU Review                        14
                                                                                         2.20 ‐ EU Review in Progress                       1
                                                                                         2.40 ‐ Flagged for Approval ‐ Confirm Loans       74
                                                                                         2.50 ‐ Ready for ED                                1
                                             Subtotal                                                                                      90
Subtotal                                                                                                                                   90
DeVry College of Technology                  Devry                                       2.10 ‐ Ready for EU Review                        82
                                             Subtotal                                                                                      82
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Subtotal                                                                                                                                   82
ASA College                                      Asa Inst Of Bus & Comptr Tech, Inc.      2.10 ‐ Ready for EU Review                       81
                                                 Subtotal                                                                                  81
Subtotal                                                                                                                                   81
Lehigh Valley College                            CEC                                      2.10 ‐ Ready for EU Review                       30
                                                                                          2.23 ‐ Awaiting Evidence Check by ED Divisions    3
                                                                                          2.40 ‐ Flagged for Approval ‐ Confirm Loans      47
                                                 Subtotal                                                                                  80
Subtotal                                                                                                                                   80
International Academy of Design and Technology   CEC                                      2.10 ‐ Ready for EU Review                       15
                                                                                          2.20 ‐ EU Review in Progress                      4
                                                                                          2.21 ‐ Ready for Quality Control                  4
                                                                                          2.22 ‐ Quality Control in Progress                6
                                                                                          2.23 ‐ Awaiting Evidence Check by ED Divisions   17
                                                                                          2.40 ‐ Flagged for Approval ‐ Confirm Loans      33
                                                 Subtotal                                                                                  79
Subtotal                                                                                                                                   79
Chamberlain University                           Devry                                    2.10 ‐ Ready for EU Review                        2
                                                                                          2.20 ‐ EU Review in Progress                     72
                                                 Subtotal                                                                                  74
Subtotal                                                                                                                                   74
Berkeley College                                 Berkeley Educ. Serv. Of Ny, Inc.         2.10 ‐ Ready for EU Review                       73
                                                 Subtotal                                                                                  73
Subtotal                                                                                                                                   73
Gwinnett College                                 LTT Enterprises, Inc                     2.10 ‐ Ready for EU Review                       70
                                                 Subtotal                                                                                  70
Subtotal                                                                                                                                   70
Gibbs College                                    Gibbs College                            2.10 ‐ Ready for EU Review                       67
                                                                                          2.23 ‐ Awaiting Evidence Check by ED Divisions    1
                                                                                          2.50 ‐ Ready for ED                               2
                                                 Subtotal                                                                                  70
Subtotal                                                                                                                                   70
Spencerian College                               Sullivan University Systems              2.10 ‐ Ready for EU Review                       11
                                                                                          2.20 ‐ EU Review in Progress                     58
                                                 Subtotal                                                                                  69
Subtotal                                                                                                                                   69
Harrington College of Design                     CEC                                      2.10 ‐ Ready for EU Review                       39
                                                                                          2.20 ‐ EU Review in Progress                      1
                                                                                          2.21 ‐ Ready for Quality Control                  4
                                                                                          2.23 ‐ Awaiting Evidence Check by ED Divisions    1
                                                                                          2.40 ‐ Flagged for Approval ‐ Confirm Loans      24
                                                 Subtotal                                                                                  69
Subtotal                                                                                                                                   69
Platt College                                    Stvt‐Aai Education Inc.                  2.10 ‐ Ready for EU Review                       44
                                                 Subtotal                                                                                  44
                                                 Caltius Equity Partners III, LP          2.10 ‐ Ready for EU Review                       24
                                                 Subtotal                                                                                  24
Subtotal                                                                                                                                   68
Sullivan University                              Sullivan University Systems              2.10 ‐ Ready for EU Review                        7
                                                                                          2.20 ‐ EU Review in Progress                     57
                                                 Subtotal                                                                                  64
Subtotal                                                                                                                                   64
Concorde Career Institute                        Concorde Career Colleges, Inc.           2.10 ‐ Ready for EU Review                       14
                                                                                          2.20 ‐ EU Review in Progress                     42
                                                 Subtotal                                                                                  56
Subtotal                                                                                                                                   56
Brown Mackie College‐Merrillville                EDMC                                     2.10 ‐ Ready for EU Review                       55
                                                                                          2.20 ‐ EU Review in Progress                      1
                                                 Subtotal                                                                                  56
Subtotal                                                                                                                                   56
Florida Coastal School of Law                    Infilaw Holding, LLC                     2.20 ‐ EU Review in Progress                     54
                                                                                          2.21 ‐ Ready for Quality Control                  1
                                                 Subtotal                                                                                  55
Subtotal                                                                                                                                   55
FastTrain of Miami                               Fasttrain                                2.10 ‐ Ready for EU Review                       30
                                                                                          2.20 ‐ EU Review in Progress                     23
                                                                                          2.50 ‐ Ready for ED                               1
                                                 Subtotal                                                                                  54
Subtotal                                                                                                                                   54
Las Vegas College                                Corinthian Colleges, Inc.                2.10 ‐ Ready for EU Review                        6
                                                                                          2.20 ‐ EU Review in Progress                      6
                                                                                          2.22 ‐ Quality Control in Progress                2
                                                                                          2.23 ‐ Awaiting Evidence Check by ED Divisions    2
                                                                                          2.50 ‐ Ready for ED                               9
                                                                                          2.60 ‐ Sent to ED                                28
                                                 Subtotal                                                                                  53
Subtotal                                                                                                                                   53
All‐State Career                                 Fortis College                           2.10 ‐ Ready for EU Review                       53
                                                 Subtotal                                                                                  53
Subtotal                                                                                                                                   53
Bryan University                                 Bryan College                            2.10 ‐ Ready for EU Review                       52
                                                 Subtotal                                                                                  52
Subtotal                                                                                                                                   52
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Court Reporting Institute of St Louis       Vatterott Education, Inc.                                  2.10 ‐ Ready for EU Review                    26
                                                                                                       2.20 ‐ EU Review in Progress                  24
                                            Subtotal                                                                                                 50
Subtotal                                                                                                                                             50
Northcentral University                     Innova Management Group, Inc.                              2.10 ‐ Ready for EU Review                     5
                                                                                                       2.20 ‐ EU Review in Progress                  43
                                            Subtotal                                                                                                 48
Subtotal                                                                                                                                             48
CollegeAmerica Denver                       Collegeamerica Services, Inc.                              2.10 ‐ Ready for EU Review                    24
                                                                                                       2.20 ‐ EU Review in Progress                  24
                                            Subtotal                                                                                                 48
Subtotal                                                                                                                                             48
University of the Rockies                   Bridgepoint Education, Inc.                                2.10 ‐ Ready for EU Review                    47
                                            Subtotal                                                                                                 47
Subtotal                                                                                                                                             47
Court Reporting Institute,Inc               Court Reporting Institute,Inc                              2.10 ‐ Ready for EU Review                    41
                                                                                                       2.20 ‐ EU Review in Progress                   4
                                                                                                       2.40 ‐ Flagged for Approval ‐ Confirm Loans    2
                                            Subtotal                                                                                                 47
Subtotal                                                                                                                                             47
Bryan College                               Bryan College                                              2.10 ‐ Ready for EU Review                     5
                                                                                                       2.20 ‐ EU Review in Progress                  41
                                            Subtotal                                                                                                 46
Subtotal                                                                                                                                             46
Los Angeles Film School (The)               Phelps Education West, LLC                                 2.10 ‐ Ready for EU Review                    45
                                            Subtotal                                                                                                 45
Subtotal                                                                                                                                             45
Remington College ‐ Lafayette Campus        Remington College                                          2.10 ‐ Ready for EU Review                    42
                                            Subtotal                                                                                                 42
Subtotal                                                                                                                                             42
Remington College ‐ Cleveland Campus        Remington College                                          2.10 ‐ Ready for EU Review                    41
                                            Subtotal                                                                                                 41
Subtotal                                                                                                                                             41
FastTrain of Fort Lauderdale                Fasttrain                                                  2.10 ‐ Ready for EU Review                    13
                                                                                                       2.20 ‐ EU Review in Progress                  28
                                            Subtotal                                                                                                 41
Subtotal                                                                                                                                             41
Thomas Jefferson School of Law              Thomas Jefferson School Of Law                             2.10 ‐ Ready for EU Review                     6
                                                                                                       2.20 ‐ EU Review in Progress                  30
                                            Subtotal                                                                                                 36
Subtotal                                                                                                                                             36
Santa Fe University of Art and Design       Wengen Alberta, Limited Partnership (Laureate Education)   2.10 ‐ Ready for EU Review                     4
                                                                                                       2.20 ‐ EU Review in Progress                  31
                                            Subtotal                                                                                                 35
Subtotal                                                                                                                                             35
FastTrain of Tampa                          Fasttrain                                                  2.10 ‐ Ready for EU Review                    34
                                            Subtotal                                                                                                 34
Subtotal                                                                                                                                             34
FastTrain of Jacksonville                   Fasttrain                                                  2.10 ‐ Ready for EU Review                    32
                                            Subtotal                                                                                                 32
Subtotal                                                                                                                                             32
Beckfield College                           Quad Partners III‐A LP                                     2.10 ‐ Ready for EU Review                    26
                                                                                                       2.50 ‐ Ready for ED                            5
                                            Subtotal                                                                                                 31
Subtotal                                                                                                                                             31
Masters of Cosmetology College              Masters Of Cosmetology College                             2.10 ‐ Ready for EU Review                     4
                                                                                                       2.20 ‐ EU Review in Progress                  26
                                            Subtotal                                                                                                 30
Subtotal                                                                                                                                             30
Chicago School of Professional Psychology   Tcs Education System                                       2.10 ‐ Ready for EU Review                    14
                                                                                                       2.20 ‐ EU Review in Progress                  11
                                                                                                       2.60 ‐ Sent to ED                              2
                                            Subtotal                                                                                                 27
Subtotal                                                                                                                                             27
Everglades University                       Everglades College, Inc.                                   2.10 ‐ Ready for EU Review                    24
                                            Subtotal                                                                                                 24
Subtotal                                                                                                                                             24
ATI College                                 Ati Career Training                                        2.10 ‐ Ready for EU Review                     5
                                                                                                       2.20 ‐ EU Review in Progress                  19
                                            Subtotal                                                                                                 24
Subtotal                                                                                                                                             24
Tucson College                              Delta Cec                                                  2.10 ‐ Ready for EU Review                     4
                                                                                                       2.20 ‐ EU Review in Progress                  17
                                                                                                       2.50 ‐ Ready for ED                            2
                                            Subtotal                                                                                                 23
Subtotal                                                                                                                                             23
Ross University, School of Medicine         Devry                                                      2.10 ‐ Ready for EU Review                     5
                                                                                                       2.20 ‐ EU Review in Progress                   3
                                                                                                       2.30 ‐ Final BD Review Complete                4
                                                                                                       2.40 ‐ Flagged for Approval ‐ Confirm Loans   11
                                            Subtotal                                                                                                 23
Subtotal                                                                                                                                             23
Herzing University                          Herzing, Inc.                                              2.10 ‐ Ready for EU Review                    19
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                                                                                              2.20 ‐ EU Review in Progress                      3
                                                                                              2.50 ‐ Ready for ED                               1
                                              Subtotal                                                                                         23
Subtotal                                                                                                                                       23
Bauder College                                Graham Holdings Company (Kaplan)                2.20 ‐ EU Review in Progress                     19
                                                                                              2.40 ‐ Flagged for Approval ‐ Confirm Loans       3
                                              Subtotal                                                                                         22
Subtotal                                                                                                                                       22
Remington College ‐ San Diego Campus          Remington College                               2.10 ‐ Ready for EU Review                       21
                                              Subtotal                                                                                         21
Subtotal                                                                                                                                       21
National College                              National College                                2.20 ‐ EU Review in Progress                      4
                                                                                              2.30 ‐ Final BD Review Complete                   1
                                                                                              2.60 ‐ Sent to ED                                15
                                              Subtotal                                                                                         20
Subtotal                                                                                                                                       20
Heald College, School of Business             Heald                                           2.10 ‐ Ready for EU Review                       20
                                              Subtotal                                                                                         20
Subtotal                                                                                                                                       20
Lincoln Technical Institute ‐ Hartford        Lincoln Technical Institute, Inc.               2.20 ‐ EU Review in Progress                     19
                                              Subtotal                                                                                         19
Subtotal                                                                                                                                       19
Ross Medical Education Center                 Ross Education, LLC                             2.10 ‐ Ready for EU Review                        1
                                                                                              2.30 ‐ Final BD Review Complete                   6
                                                                                              2.60 ‐ Sent to ED                                11
                                              Subtotal                                                                                         18
Subtotal                                                                                                                                       18
Heald Institute of Technology                 Heald                                           2.10 ‐ Ready for EU Review                       18
                                              Subtotal                                                                                         18
Subtotal                                                                                                                                       18
California College San Diego                  Collegeamerica Services, Inc.                   2.10 ‐ Ready for EU Review                       18
                                              Subtotal                                                                                         18
Subtotal                                                                                                                                       18
Milan Institute of Cosmetology                Amarillo College Of Hairdressing, Inc.          2.10 ‐ Ready for EU Review                        3
                                                                                              2.40 ‐ Flagged for Approval ‐ Confirm Loans      13
                                              Subtotal                                                                                         16
Subtotal                                                                                                                                       16
Lincoln Technical Institute ‐ East Windsor    Lincoln Technical Institute, Inc.               2.20 ‐ EU Review in Progress                     16
                                              Subtotal                                                                                         16
Subtotal                                                                                                                                       16
Dowling College                               Dowling College (Private)                       2.10 ‐ Ready for EU Review                        7
                                                                                              2.20 ‐ EU Review in Progress                      8
                                                                                              2.60 ‐ Sent to ED                                 1
                                              Subtotal                                                                                         16
Subtotal                                                                                                                                       16
CollegeAmerica ‐ Flagstaff                    Collegeamerica Services, Inc.                   2.10 ‐ Ready for EU Review                        2
                                                                                              2.20 ‐ EU Review in Progress                     12
                                              Subtotal                                                                                         14
Subtotal                                                                                                                                       14
American Public University System             American Public Education, Inc.                 2.10 ‐ Ready for EU Review                        1
                                                                                              2.23 ‐ Awaiting Evidence Check by ED Divisions    1
                                                                                              2.60 ‐ Sent to ED                                12
                                              Subtotal                                                                                         14
Subtotal                                                                                                                                       14
West Coast University                         David Pyle Trust                                2.10 ‐ Ready for EU Review                        5
                                                                                              2.20 ‐ EU Review in Progress                      7
                                              Subtotal                                                                                         12
Subtotal                                                                                                                                       12
South Texas Vocational Technical Institute    Stvt‐Aai Education Inc.                         2.10 ‐ Ready for EU Review                       12
                                              Subtotal                                                                                         12
Subtotal                                                                                                                                       12
San Joaquin Valley College                    San Joaquin Valley College, Inc                 2.10 ‐ Ready for EU Review                        4
                                                                                              2.60 ‐ Sent to ED                                 8
                                              Subtotal                                                                                         12
Subtotal                                                                                                                                       12
King's College                                Bradford Schools, Inc.                          2.60 ‐ Sent to ED                                11
                                              Subtotal                                                                                         11
Subtotal                                                                                                                                       11
Globe Institute of Technology                 Globe University/Minnesota School Of Business   2.10 ‐ Ready for EU Review                        2
                                                                                              2.20 ‐ EU Review in Progress                      8
                                                                                              2.60 ‐ Sent to ED                                 1
                                              Subtotal                                                                                         11
Subtotal                                                                                                                                       11
Fashion Institute of Design & Merchandising   Fashion Institute Of Design & Merchandising     2.10 ‐ Ready for EU Review                       10
                                                                                              2.23 ‐ Awaiting Evidence Check by ED Divisions    1
                                              Subtotal                                                                                         11
Subtotal                                                                                                                                       11
Wright Business School                        Wright Business School                          2.40 ‐ Flagged for Approval ‐ Confirm Loans       3
                                                                                              2.50 ‐ Ready for ED                               6
                                                                                              2.60 ‐ Sent to ED                                 1
                                              Subtotal                                                                                         10
Subtotal                                                                                                                                       10
Dorsey School of Business                     Quad Partners III‐A LP                          2.20 ‐ EU Review in Progress                      9
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                                                                                                           2.23 ‐ Awaiting Evidence Check by ED Divisions    1
                                                Subtotal                                                                                                    10
Subtotal                                                                                                                                                    10
All‐State Career School                         Education Affiliates, LLC                                  2.10 ‐ Ready for EU Review                       10
                                                Subtotal                                                                                                    10
Subtotal                                                                                                                                                    10
Western State University College of Law         EDMC                                                       2.10 ‐ Ready for EU Review                        2
                                                                                                           2.20 ‐ EU Review in Progress                      7
                                                Subtotal                                                                                                     9
Subtotal                                                                                                                                                     9
Ross University School of Veterinary Medicine   Devry                                                      2.10 ‐ Ready for EU Review                        8
                                                                                                           2.20 ‐ EU Review in Progress                      1
                                                Subtotal                                                                                                     9
Subtotal                                                                                                                                                     9
Saybrook University                             Tcs Education System                                       2.60 ‐ Sent to ED                                 8
                                                Subtotal                                                                                                     8
Subtotal                                                                                                                                                     8
National University                             National University System                                 2.10 ‐ Ready for EU Review                        2
                                                                                                           2.20 ‐ EU Review in Progress                      6
                                                Subtotal                                                                                                     8
Subtotal                                                                                                                                                     8
International Business College                  Bradford Schools, Inc.                                     2.10 ‐ Ready for EU Review                        3
                                                                                                           2.23 ‐ Awaiting Evidence Check by ED Divisions    5
                                                Subtotal                                                                                                     8
Subtotal                                                                                                                                                     8
Heald College‐School of Business                Heald                                                      2.10 ‐ Ready for EU Review                        8
                                                Subtotal                                                                                                     8
Subtotal                                                                                                                                                     8
Remington College ‐ New Orleans Campus          Remington College                                          2.10 ‐ Ready for EU Review                        1
                                                                                                           2.20 ‐ EU Review in Progress                      6
                                                Subtotal                                                                                                     7
Subtotal                                                                                                                                                     7
Kendall College                                 Wengen Alberta, Limited Partnership (Laureate Education)   2.20 ‐ EU Review in Progress                      7
                                                Subtotal                                                                                                     7
Subtotal                                                                                                                                                     7
Heald College‐School of Technology              Heald                                                      2.10 ‐ Ready for EU Review                        6
                                                                                                           2.20 ‐ EU Review in Progress                      1
                                                Subtotal                                                                                                     7
Subtotal                                                                                                                                                     7
Charter College                                 Charter College                                            2.10 ‐ Ready for EU Review                        1
                                                                                                           2.20 ‐ EU Review in Progress                      3
                                                                                                           2.21 ‐ Ready for Quality Control                  3
                                                Subtotal                                                                                                     7
Subtotal                                                                                                                                                     7
Centura Institute                               Employment Services, Inc.                                  2.20 ‐ EU Review in Progress                      7
                                                Subtotal                                                                                                     7
Subtotal                                                                                                                                                     7
Bradford School                                 Bradford Schools, Inc.                                     2.10 ‐ Ready for EU Review                        7
                                                Subtotal                                                                                                     7
Subtotal                                                                                                                                                     7
American International College                  CEC                                                        2.10 ‐ Ready for EU Review                        1
                                                                                                           2.23 ‐ Awaiting Evidence Check by ED Divisions    6
                                                Subtotal                                                                                                     7
Subtotal                                                                                                                                                     7
YTI Career Institute                            The Porter And Chester Inst., Inc.                         2.20 ‐ EU Review in Progress                      6
                                                Subtotal                                                                                                     6
Subtotal                                                                                                                                                     6
Paul Mitchell the School Salt Lake City         John Paul Mitchell Systems                                 2.20 ‐ EU Review in Progress                      6
                                                Subtotal                                                                                                     6
Subtotal                                                                                                                                                     6
National Aviation Academy ‐ New England         Corinthian Colleges, Inc.                                  2.20 ‐ EU Review in Progress                      4
                                                                                                           2.50 ‐ Ready for ED                               1
                                                                                                           2.60 ‐ Sent to ED                                 1
                                                Subtotal                                                                                                     6
Subtotal                                                                                                                                                     6
Empire Beauty School                            Regis Corp.                                                2.20 ‐ EU Review in Progress                      1
                                                                                                           2.23 ‐ Awaiting Evidence Check by ED Divisions    4
                                                Subtotal                                                                                                     5
                                                Regis Corporation                                          2.23 ‐ Awaiting Evidence Check by ED Divisions    1
                                                Subtotal                                                                                                     1
Subtotal                                                                                                                                                     6
Cortiva Institute                               Steiner Leisure Ltd.                                       2.23 ‐ Awaiting Evidence Check by ED Divisions    6
                                                Subtotal                                                                                                     6
Subtotal                                                                                                                                                     6
Art Institute of Tucson (The)                   EDMC                                                       2.10 ‐ Ready for EU Review                        1
                                                                                                           2.20 ‐ EU Review in Progress                      4
                                                Subtotal                                                                                                     5
Subtotal                                                                                                                                                     5
International Technical Institute               Lincoln Technical Institute, Inc.                          2.10 ‐ Ready for EU Review                        1
                                                                                                           2.20 ‐ EU Review in Progress                      3
                                                Subtotal                                                                                                     4
Subtotal                                                                                                                                                     4
Columbia Southern University                    Columbia Southern Education Group, Inc.                    2.40 ‐ Flagged for Approval ‐ Confirm Loans       4
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                                                      Subtotal                                                                                                    4
Subtotal                                                                                                                                                          4
Post University                                       Post University, Inc.                                      2.10 ‐ Ready for EU Review                       3
                                                      Subtotal                                                                                                    3
Subtotal                                                                                                                                                          3
Katherine Gibbs School                                Gibbs College                                              2.10 ‐ Ready for EU Review                       3
                                                      Subtotal                                                                                                    3
Subtotal                                                                                                                                                          3
Florida Technical College                             Leeds Equity Partners IV, L.P.                             2.10 ‐ Ready for EU Review                       2
                                                                                                                 2.21 ‐ Ready for Quality Control                 1
                                                      Subtotal                                                                                                    3
Subtotal                                                                                                                                                          3
American University of the Caribbean                  Devry                                                      2.10 ‐ Ready for EU Review                       1
                                                                                                                 2.20 ‐ EU Review in Progress                     2
                                                      Subtotal                                                                                                    3
Subtotal                                                                                                                                                          3
Wood Tobe ‐ Coburn School                             Bradford Schools, Inc.                                     2.10 ‐ Ready for EU Review                       1
                                                                                                                 2.20 ‐ EU Review in Progress                     1
                                                      Subtotal                                                                                                    2
Subtotal                                                                                                                                                          2
Seacoast Career Schools                               Premier Education Group L.P.                               2.10 ‐ Ready for EU Review                       2
                                                      Subtotal                                                                                                    2
Subtotal                                                                                                                                                          2
Sawyer College                                        Corinthian Colleges, Inc.                                  2.60 ‐ Sent to ED                                2
                                                      Subtotal                                                                                                    2
Subtotal                                                                                                                                                          2
Radians College                                       Jtc Education, Inc.                                        2.10 ‐ Ready for EU Review                       2
                                                      Subtotal                                                                                                    2
Subtotal                                                                                                                                                          2
Monroe College                                        Monroe College, Ltd.                                       2.10 ‐ Ready for EU Review                       2
                                                      Subtotal                                                                                                    2
Subtotal                                                                                                                                                          2
Instituto de Banca y Comercio                         Leeds Equity Partners IV, L.P.                             2.10 ‐ Ready for EU Review                       1
                                                                                                                 2.11 ‐ Narrative Needed                          1
                                                      Subtotal                                                                                                    2
Subtotal                                                                                                                                                          2
City University of Seattle                            National University System                                 2.10 ‐ Ready for EU Review                       2
                                                      Subtotal                                                                                                    2
Subtotal                                                                                                                                                          2
Vista College                                         Education Futures Management Co.                           2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
Vet Tech Institute                                    Bradford Schools, Inc.                                     2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
St. Paul's School of Nursing                          Education Affiliates, LLC                                  2.23 ‐ Awaiting Evidence Check by ED Divisions   1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
St. George's University, School of Medicine           St. George'S University, Ltd.                              2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
Saba University School of Medicine                    Equinox Eic Partners LLC                                   2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
Rocky Mountain College of Art + Design                Phelps Education West, LLC                                 2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
Porter and Chester Institute                          The Porter And Chester Inst., Inc.                         2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
Pacific Oaks College                                  Tcs Education System                                       2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
NewSchool of Architecture and Design                  Wengen Alberta, Limited Partnership (Laureate Education)   2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
National Institute of Technology                      Corinthian Colleges, Inc.                                  2.20 ‐ EU Review in Progress                     1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
Medical University of the Americas                    Equinox Eic Partners LLC                                   2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
Jolie Hair and Beauty Academy                         Pioneer Education, LLC                                     2.21 ‐ Ready for Quality Control                 1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
ITT Business Institute                                ITT Educational Services, Inc.                             2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
Indiana University ‐ Purdue University Indianapolis   Indiana University                                         2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
Subtotal                                                                                                                                                          1
Hondros College of Nursing                            American Public Education, Inc.                            2.10 ‐ Ready for EU Review                       1
                                                      Subtotal                                                                                                    1
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Subtotal                                                                                                                                                   1
Gwinnett College‐Sandy Springs                              LTT Enterprises, Inc                     2.10 ‐ Ready for EU Review                            1
                                                            Subtotal                                                                                       1
Subtotal                                                                                                                                                   1
Galen Health Institutes                                     Isleworth Partners Inc.                  2.10 ‐ Ready for EU Review                            1
                                                            Subtotal                                                                                       1
Subtotal                                                                                                                                                   1
Denver College of Nursing                                   Education Affiliates, Inc.               2.10 ‐ Ready for EU Review                            1
                                                            Subtotal                                                                                       1
Subtotal                                                                                                                                                   1
Dallas Nursing Institute                                    Tcs Education System                     2.10 ‐ Ready for EU Review                            1
                                                            Subtotal                                                                                       1
Subtotal                                                                                                                                                   1
Cortiva Institute ‐ Scottsdale                              Steiner Leisure Ltd.                     2.23 ‐ Awaiting Evidence Check by ED Divisions        1
                                                            Subtotal                                                                                       1
Subtotal                                                                                                                                                   1
Antonelli Institute                                         Bradford Schools, Inc.                   2.30 ‐ Final BD Review Complete                       1
                                                            Subtotal                                                                                       1
Subtotal                                                                                                                                                   1
Total                                                                                                                                                 151613


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